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UNITED sTATEs BANKRUPTCY COURT. 5 , iii
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ln re:
Polanco v. Roth

Bankruptcy Case 1 l -34121 -MER
No. : Chapter 7

Adversary No.: 12-0 l 0 l O-MER
Tasheena Polanco

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Plaintiff )
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Joseph A. Roth
Defendant

 

DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION
FOR SUMMARY JUDGMENT

 

Defendant, Joseph A. Roth, submits the following reply regarding summary judgment
BACKGROUND

On August 23, 2012, Defendant filed his motion for summary judgment and supporting

affidavit In his affidavit, Mr. Roth unequivocally stated, among other things, the following:

l. That prior to the employment of Ms. Polanco, he had never met Ms. Polanco (i.e, they
never had a personal relationship); See Exh. A, Affidavit of Joseph A. Roth, il 8.
2. That prior to and during the course of Ms. Polanco’s employment, he did not have any

dislike of or animus toward Ms. Polanco. Id. il 9.

 

 

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3. That his words and conduct were not intended to injure Ms. Polanco. In other words, Mr.
Roth did not have an actual intent to injure Ms. Polanco under any circumstances Id. j[
10.

4. That he did not desire to injure or harm Ms. Polanco nor did he believe that any injury to

Ms. Polanco was substantially certain to result from his acts or comments. Id, 11 ll.

These critical factors establish that any purported injury suffered by Ms. Polanco were
not willful or malicious within the meaning of ll U.S.C. § 523(a)(6) ("[a] discharge under. . .this
title...does not discharge an individual debtor from any debt for willful and malicious injury by
the debtor to another entity or to the property of another entity.")(emphasis added). See, e.g.,
Kawaauhau v. Geiger, 523 U.S. 57, 61-62 (l998)(“The word "willful" in (a)(6) modifies the
word "injury," indicating that nondischargeability takes a deliberate or intentional injury, not
merely a deliberate or intentional act that leads to injury.”)

In response to the motion for summary judgment, Plaintiff sets forth a series of deliberate
or intentional acts which resulted to her purported emotional distress. However, as demonstrated
below, Plaintiff’s litany of intentional acts does not amount to a material fact dispute regarding
Defendant’s lack of intent or desire to injure Plaintiff

ARGUMENT

I. Plaintiff Ignores The Subjective Standard.

As to whether intent is measured on an objective or subjective basis, the Tenth Circuit,
following Geiger, has adopted the subjective standard See, e.g., Via Christi Reg'l Med. Ctr. v.
Engleharl, 2000 U.S. App. LEXIS 22754 (lOth Cir. 2008) (“In sum, the "willful and malicious
injury" exception to dischargeability in § 523(a)(6) turns on the state of mind of the debtor, who

must have wished to cause injury or at least believed it was substantially certain to occur. When

 

 

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injury was "neither desired nor in fact anticipated by the debtor," it is outside the scope of the
statute. Geiger, 523 U.S. at 62”); see also Panalis v. Moore (In re Moore), 357 F.3d 1125,

1129-30 (lOth Cir. 2004).
In Englehart, the Tenth Circuit emphasized subjective standard, stating:

The Eighth Circuit decision affirmed by the Supreme Court in Geiger
relied on the Restatement (Second) of Torts § 8A (1965) to hold that the
intent element of § 523(a)(6) requires that the debtor either "desires to
cause [injury], or . . . believes that the [injury is] substantially certain to
result." Geiger, ll3 F.3d at 852 (quotation omitted and emphasis added).
As the emphasized terms reflect, the Eighth Circuit adopted the
Restatement's dual approach to intent in toto, i.e., while extending the
concept to include undesired yet substantially certain injury, the court kept
the focus of the inquiry subjective--on the debtor's belief in the substantial
certainty of injury, not on a fact finder’s independent view of the
likelihood of injury. Indeed, the court took pains to explain the point,
which was crucial to its holding in the case:

In our case, there is no suggestion whatever that [the debtor] desired to
cause the very serious consequences that [the creditor] suffered. . . .
Therefore, he would have to have believed that [the creditor] was
substantially certain to suffer harm as a result of his actions. Although the
district court opined that "expert testimony" established that [the
debtor's] conduct was "certain or substantially certain to cause
[injury]," that is not enough. There is nothing in the record, so far as we
can tell, that would support a finding that [the debtor] believed that it was
substantially certain that [the creditor] would suffer harm. Indeed, [the
debtor] testified that he believed [t0 the contrary]

This is an important distinction, one in fact that defines the boundary

between intentional and unintentional torts: Even if [the debtor] should

have believed that his [conduct] Was substantially certain to produce

serious harmful consequences, he would be guilty only of [negligence or

recklessness], not of an intentional tort.

Icl. at 852-53.

(bold face emphasis added).
Here, Plaintiff is relying on a fact finders’s independent view of the likelihood of injury rather
than Defendant’s belief (or lack thereof) in the substantial certainty of injury. Further, expert

testimony as to whether Defendant’s conduct was certain or substantially certain to cause injury

would be insufficient to create a material fact dispute as to whether Defendant intended or

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desired to cause Plaintiff any harm. Finally, Plaintiff’ s mere recitation of Defendant’s actions
and comments cannot overcome Defendant’s unequivocal declaration that he did not intend or
desire to injure Plaintiff and that he did not believe that any injury to Plaintiff was substantially
certain to result from his acts or comments Rather than offering any specific evidence as to
Defendant’s intent, Plaintiff merely claims that Defendant’s affidavit is “entirely self serving.”
However, “[a] party opposing summary judgment may not simply question the credibility of the
movant to foreclose summary judgment.” Far Out Productions Inc. v. Oskar, 247 F.3d 986, 997

(9th Cir. 2001).

II. Plaintiff"s Battery Claim ls lnsufficient to Support Nondischargeability.

In an attempt to augment her position, Plaintiff states: “Mr. Roth actually physically
touched Ms. Polanco in a sexual manner on two occasions, including touching her breast and her
crotch.l Ms. Polanco has asserted a claim for battery against Mr. Roth based on these alleged

incidents of unwelcome physical contact.”2

See Plaintiff s Response at 9 (emphasis original).
However, the single battery case cited by Plaintiff is distinguishable from these isolated, alleged
touching incidents See Plaintiff s Response at 7 citing Musich v. Grahatn (In re Graham) 455
B.R. 227 (Bankr. D. Colo. 2011). In Graham, the debtor punched Musich in the face fracturing
several facial bones The debtor, Graharn, admitted that he purposefully hit Musich hard enough
to fracture the bones in Musich’s face. 455 B.R. at 232. In light of this admission, the Court

stated: ”Here, the injury to Plaintiff was "willful" under § 523(a)(6) because it was intentional

The pleadings, testimony, and affidavits demonstrate Defendant intentionally struck Plaintiff

 

1 Mr. Roth denies that he touched Plaintist crotch. See Dep. of Joseph Roth at 84, lines 7-15 (the deposition is
attached to Plaintiff’ s Response). Furthermore, Mr. Roth stated that if he touched Plaintiff’s breast, such touching
was accidental Ia'. at 83, lines 7-l7.

2 Quinn v. Greentree Credit Corporation, 159 F.3d 759, 768 (2d Cir, 1998) (comments regarding female employee's
posterior and deliberate touching of her breasts, were sufficiently isolated and discrete to find that the employer's
conduct, although offensive, did not create a hostile work environment).

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hard enough to fracture Plaintiffs facial bones The evidence shows Defendant intended to cause
injury to Plaintiff_or at the very least that his actions were substantially certain to result in
injury.” Id. (emphasis original). Here, there was no physical injury and no intent to cause any
injury whatsoever. lt should be noted that in Colorado, civil battery does not require an intent to
injure. See. e.g., Stover v. Vukelich (In re Vukelich), 2012 Bankr. LEXIS 3864 (Bankr. D. Colo.
2012)(“In Colorado, to prove a claim for battery...[t]he plaintiff need not prove, however, that
the actor intended the harm that actually results.") Moreover, the vast majority of intentional
assault and battery cases under § 523(a)(6) involve obvious and serious physical injuries See,
e.g., In re Thirtyacre, 36 F.3d 697 (7th Cir. 1994)(where debtor intentionally struck victim in the
neck, absent legal justification or excuse, act was malicious and resulting debt was
nondischargeable); In re LeMaire, 898 F.2d 1346 (8th Cir. l990)(where debtor shot plaintiff five
times at close range with a rifle in an attempt to kill the plaintiff, resulting debt would be
nondischargeable in Chapter 7, and debtor's Chapter 13 plan, which proposed to pay 42% of debt
was not proposed in good faith); In re Pitner, 696 F.2d 447 (6th Cir. l982)(debt resulting to
widow when debtor shot victim in the stomach, a wound from which the victim later died, was
nondischargeable); In re Dara’ar, 620 F.2d 39 (5th Cir. 1980)(absent legal justification or excuse,
intentional beating of victim by debtor was malicious and resulting debt was nondischargeable);
In re Vickers, 546 F.2d 1149 (5th Cir. l977)(absent legal justification or excuse, intentional
stabbing of victim by debtor was malicious and resulting debt was nondischargeable); In re
Seals, 110 Bankr. 331 (M.D. Tenn. 1989)(where debtor choked, kicked, beat, kneed and threw
the plaintiff around her own apartment, debt based on injuries thereby received by the plaintiff
was nondischargeable); In re Gaebler, 88 Bankr. 62 (E.D. Pa. l988)(debt resulting from

intentional shooting of victim by debtor without legal cause or excuse was nondischargeable); In

 

 

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re Chase, 43 Bankr. 739 (D. Md. 1984)(where debtor sexually abused minor, resulting debt was

nondischargeable in Chapter 7.3

ln short, the § 523 (a)(6) line of battery cases demonstrate that the respective debtors were
aware that their respective actions would cause physical injury, i.e., they intended to injure or
believed that injury was substantially certain to result from their respective acts Here, in stark
contrast, there was no physical injury and no way for Mr. Roth to anticipate or believe that his
acts or comments would cause Ms. Polanco the severe depression which she alleges4
III. Plaintiff’ s Sexual Harassment Cases Are Distinguishable.

In support of her assertion that sexual harassment cases are nondischargeable, Plaintiff cites
two cases which are factually and procedurally distinguishable See Plaintiff’ s Response at 8,
citing McDonough v. Smith (In re Smith), 270 B.R. 544 (Bankr. D. Mass. 2001),' Basile v.
Spagnola (In re Spagnola), 473 B.R 518 (Bankr. S.D.N.Y. 2012). In both Smith and Spagnola,
the employer conditioned employment on having sex with the employer Spagnola, 473 B.R. at
518 (“offering her job security in return for sex”); Smith 270 B.R at 549 (“submitting to his

sexual demands as a condition of preserving her employment”). Cases involving employer

 

3 See also In re Perretti, 172 Bankr. 214 (Bankr. N.D. Ohio 1994) (debt resulting when debtor struck plaintiff in the
face was nondischargeable, where evidence did not support debtor's claims of self defense and "mutual combat"); In
re Hazard, 166 Bankr. 145 (Bankr. E.D. Mo. 1994) (debt resulting when debtor intentionally assaulted the plaintiff
was nondischargeable); In re Bumann, 147 Bankr. 44 (Bankr. D.N.D. 1992) (debt resulting when debtor instigated
fight with plaintiff and struck plaintiff in the face was nondischargeable, even though plaintiff fought back and
struggled with debtor after fight began); In re Pokorny, 143 Bankr. 179 (Bankr. N.D. Ill. 1992) (Where debtor
intentionally struck the plaintiff in the face with his fists, the resulting debt was nondischargeable, even if debtor
was incited by ethnic slurs, since mere verbal abuse is not legal justification for assault); In re McCown, 129 Bankr.
432 (Bankr. D. Md. 1991)(debt resulting when debtor police officer shot minor suspect three times was
nondischargeable, where minor suspect was unarmed and the circumstances did not Warrant a reasonable belief by
the officer that he was in imminent danger from the minor); In re Camden, 115 Bankr. 156 GBankr. S.D. Ill. 1990)
(debt resulting when debtor intentionally shot her former boyfriend in the stomach was nondischargeable); In re
Tuma, 111 Bankr. 323 (Bankr. D. Mont. 1990)(debt resulting when the debtor struck the plaintiff in the mouth with
his fist, was nondischargeable, where debtor had not acted in self defense).

4 In her affidavit, Ms. Polanco noted that during her job interview, Mr. Roth stated that he liked her boobs. See
Affidavit of Tasheena Polanco , 11 8 (the affidavit is attached to Plaintiffs Response). However, she did not object
to this comment or refuse employment This apparent acquiescence to sexual banter indicated that she was not
bothered or emotionally vulnerable to such comments

 

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demands for sexual favors from an employee in return for a tangible job benefit, or threats to
retaliate against the employee if the employee denied some sexual liberties are often referred to
as quid pro quo cases In such cases, the explicit demands that result in the change in the terms
and conditions of employment are actionable discrimination under Title VlI. See Harris v.
Forklift Systems, Inc., 510 U.S. 17 (1993).

None of the evidence produced in this Adversary Proceeding indicates that Mr. Roth’s
conduct amounted to quid pro quo discrimination Plaintiff never claimed that there had been a
sexual assault, a request for sexual favors, or a threat made and carried out when sexual favors or
liberties were requested by Mr. Roth and subsequently denied by her. The lack of a quid quo pro
element is indicative of Mr. Roth’s lack of any intent or desire to harm Ms. Polanco.
Furthermore, in Smith the parties were involved in a three year consensual relationship before the
plaintiff ended the relationship As a result, the employer was emotionally disturbed and used
his job authority as a tool to restore the relationship Smith, 270 B.R. at 550. Here, in contrast,
there was never a personal relationship between Mr. Roth and Ms. Polanco. The lack of any
close personal ties is emphasized by the fact that Ms. Polanco Was only employed for one month
(Maylz-June s, 2009). 5

Procedurally, Smith and Spagnola Were decided on collateral estoppel grounds Smith, 270
B.R. at 547-48; Spagnola, 473 B.R. at 522. ln both cases, the respective plaintiffs obtained
monetary judgments, including punitive damages, after a jury trial. In each case, the judgments
were affirmed on appeal. Thus, after Smith and Spagnola filed their respective bankruptcy cases,
the bankruptcy courts were required to reach nondischargeability conclusions under § 523(a)(6)

on the basis of claim preclusion or collateral estoppel. The respective bankruptcy courts were

 

5 Plaintiff s assertion that “Mr. Roth subjected Ms, Polanco to egregious sexual harassment nearly everyday at
wor ” is a bald exaggeration and not supported in the record. See Plaintiff’s Response at 9.

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procedurally compelled to adhere to the fact findings reflected in the underlying jury verdicts and
appellate affirmations Here, the Court is not faced with a collateral estoppel analysis, i.e., the
acceptance of the resolution of material fact disputes by a jury. Rather this case, unlike Smith
and Spagnola, does not present a material fact dispute since Plaintiff cannot come forward with
specific facts as to whether Mr. Roth intended to injure Plaintiff or whether he believed that any

injury to Ms. Polanco was substantially certain to result from his acts or comments6
CONCLUSION

Accordingly, and for all of the foregoing reasons, Defendant’s motion for summary

judgment should be granted
Dated this 24th day of September, 2012.

Respectf`ully,

liu/la

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6 If the moving party meets its initial burden, the nonmoving party must then set forth, as provided in Fed R Civ P
56(c), specific facts showing that there is a genuine issue for trial. See, e.g., Anderson v. Liberty Lobby, Inc., 477
U.S. 242, 250 (1986) If the nonmovant fails to respond with specific facts showing a genuine issue for trial after

adequate time for discovery, the court must grant the motion for summary judgment See Fed R Civ P 56(a); Celotex
Corp. v. Catrett, 477 U.S. 317, 323 (1986).

 

 

 

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CERTIFICATE OF SERVICE

l certify that a true and correct copy of the foregoing DEFENDANT’S REPLY TO
PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY
JUDGMENT was served Via the USPS, postage prepaid to the following address this 20th day
of September, 2012.

Traylor Law Group
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Denver CO 80218

Original Hand Delivered on September 20, 2012 to:
The Clerk of the United States Bankruptcy Court
F or the District of Colorado

721 19th st ,
Denver, CO 80202 ' §

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